Case 3:17-cv-00072-NKM-JCH Document 1120 Filed-09/27/21 Page 1of.4 Pageid#: 18308
IN THE UNITED STATES DISTRICT COURT FOR THE CLERK'S OFFICE U.S. DIST. COURT
AT CHARLOTTESVILE, VA
WESTERN DISTRICT OF VIRGINIA FILED
Charlottesville Division SEP 27 2021
-Elizabeth Sines, et al

Plaintiffs

 

v Case No: 3:17-cv-072-NKM
Jason Kessler, et:al

Defendants

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DEFENDANTS ' OBJECTIONS TO THE MAGISTRATE*S ORDER (Doc 1106)

Comes now the Defendant, Christopher Cantwell, and, he makes the follow-
ing Objections to the Magistrate's Order of Doc 1106!pursuant to Fed.R.
Civ.B. 72(a):

1) On September 22, 2021, Magistrate Joel Hoppe entered an Order Grant-
ing. in Part and Denying in PartvPlaintiff's MotionsFor Evidentiary
Sanctions Against Defendant Robert Ray, Ddc 1028. Doé.1106. Cant-

well now makes the following timely Objections to that Order pursu-

ant to Fed.R.Civ.P. 72(a). While the Magistrate has re-labelled

the findings of fact, Cantwell here uses the Plaintiff's original
schema.

2) Cantwell has prevtously filed a Respones To Plaintiff's Motion For
Sanctions Against Defendant Matthew Heimbach ("Heimbach Response")
in which he lays out the facts that he believes wiil be proven at
trial. Cantwell still does not have the discovery or most of the
filings in this matterllibut, in light of his receipt of Doc 1040,
he additionally believes that the testimony of Natalie Romero will
be proven false by videotape presented as evidence in this matter
and that it will be shown that the immediate "but for" predicate

cause of Fields' car accident was Dwayne Dixon of the Antifa terror
group Redneck Revolt» pointing a rifle at Fields, all as previously

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3)

4)

 

5)

pled. He incorporates these prior arguments pursuant to Fed.R.Civ.P.

10(c), and, will produce a transcript of the relevant video soon.

Particularly, as alleged in Heimbach Response para 8, though the
Plaintiffs allege that Cantwell. joinéd a conspiracy with Ray on
August 11, 2017, at the meeting at McInttre Park, Cantwell believes
that the evidence will show that he barely knew Ray, met Ray for
the first time at that meeting, and, that videotape of that meeting
will show that there was no conspiracy entered into between himself,

Ray, or, any other person at that meeting.

The Magistrate previously found that, in order to impose adverse
factual findings against a party, there must be a finding of bad
faith. Doc 982 p 21-22. And, the Magistrate has previously acknow-
ledged the danger of "spillover" from such adverse factual findings
against one party to the other parties. Sines v Kessler 2020 US Dist
LEXIS 223168 (WD Va 2020) LEXIS p 50. “Here,: there is no allegation
of bad faith on Cantwell's part, and, so language in the adverse

Findings of fact protecting Cantwell from "spillover" is:appropriate.

As argued in the Heimbach Response, Cantwel? requests the following
amendments to the proposed "Facts Deemed To Be Established” against
Ray:

a) for #2, #3, and, #4, the phrase "Defendant Ray entered into an

agreement with one or more coconspirators" should be amended

“2a
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b}

c)

d)

to read "Defendant Ray entered into an agreement with one or
more coconspirators who were not Christopher Cantwell’;

the phrase "racial minorities, Jewish people -and their support-
ers" should be replaced with "Negroes "

pursuant to Griffin v Breckenridge 403 US 88 (1971), United :.
Brotherhood of Carpenters and Joiners v Scott 463 US 825 (1983)
and the argument previously made in the Motion In Limine For A
Determinati That Bias Against Those Who Identify As “Jews" Is
Not A Form Of “Class Based Discriminatory Animus" Prohibited By
42 USC §1985(3)" and the similar motion regarding Antifa;

for #6 and #7, the phrase: ‘It was reasonably forseeable

to Defendant Ray and intended by him that coconspirators" should

be amended to read "It was reasonably forseeable to Defendant

Ray and intended by him that coconspirators who were not Chris-

 

topher Cantwell";

In the alternate, for #2, #3, #4, #6, aiid: #7, the statement
that “The inference may be drawn that these co-conspirators were
[the Nationalist Front, Vanguard America, the National Socialist
Movement, Elliot Kline, dames Fields, Matthew Heimbachl! and,
any other sanctioned Defendant] but not Christopher Cantwell

{or any other non-sanctioned Defendant]" should be appended to

-those "Facts Deemed To Be Established".

Respectfully Submitted,

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Lb
ristophner Cantwell

USP-Marion
PO Box 1900
Marion, IL 62959

 

CERTIFICATE OF SERVICE

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ft hereby certify that this Amended Response was mailed to the Clerk of

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Case 3:17-cv-00072-NKM-JCH Document 1120 Filed 09/27/21 Page 4of4 Pageid#: 18311
Court, lst Class Postage Prepaid, for posting upon the ECF, to
which all other parties are subscribed, and, handed to USP-Marion
staff members Kathy Hill and/or Nathan Simpkins for electronic
transmission to the Court pursuant to the Court's prior Order,

this 33-day of September, 2021.

“ Co Agujze—

Christopher Cantwell
